
717 S.E.2d 379 (2011)
STATE of North Carolina
v.
Rodney Lloyd PARKER.
No. 257P11.
Supreme Court of North Carolina.
August 25, 2011.
Kathryn J. Thomas, Assistant Attorney General, for State of North Carolina.
*380 Rodney Lloyd Parker, for Parker, Rodney Lloyd.
Rex Gore, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed on the 21st of June 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 25th of August 2011."
